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 1   QUIN DENVIR, Bar No. 49374
     Federal Defender
 2   801 I Street, Third Floor
     Sacramento, CA 95814
 3   Telephone: (916) 498-5700

 4   Attorney for Defendant
     Luis Armando de la Herran Meza
 5
 6
 7                    IN THE UNITED STATES DISTRICT COURT

 8                  FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
10   UNITED STATES OF AMERICA,               )
                                             ) No. CR S-05-189 LKK
11                  Plaintiff,               )
                                             )
12        v.                                 )
                                             )
13   LUIS ARMANDO DE LA HERRAN MEZA, et al., ) ORDER
                                             )
14                  Defendant.               )
     ________________________________________)
15
               The above captioned matter came on for status conference on
16
     August 9, 2005 at 9:30 a.m.          The government was represented by
17
     Assistant United States Attorney Mary Grad.             Defendant Meza was
18
     represented by Federal Defender Quin Denvir.       Defendant Lopez-Sanchez
19
     was represented by Lorie Teichert. Defendant Felix was represented by
20
     Robert Sherman Wynne.    The parties agreed that the matter should be
21
     continued for further status conference on September 7, 2005 at 9:30
22
     a.m. and the Court so ordered.      The government has recently provided
23
     a substantial amount of additional discovery which counsel            requires
24
     time to analyze and discuss with their clients.         The parties require
25
     time to discuss a possible resolution.       The parties agreed that time
26
     should be excluded through September 7, 2005 under Local Code T-4 and
27
     the Court so ordered.
28
     DATED: August 9, 2005            /s/Lawrence K. Karlton
                                      HONORABLE LAWRENCE K. KARLTON
                                      Senior United States District Judge
